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                                          EXHIBIT D

                                  Credit Agreement Amendment




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                                       FOURTH AMENDMENT TO CREDIT AGREEMENT
                                                      CW. R. Grace & Co.-Conn.)

                      THIS FOURTH AMENDMENT TO THE CREDIT AGREEMENT ("Fourth Amendment") is
entered into as of November _, 2009 ("Execution Date"), by and between ADVANCED REFINING
TECHNOLOGIES LLC, a limited liability company organized under the laws of Delaware (the
"Borrower"), and W. R. GRACE & CO.-CONN., a Connecticut corporation (the "Lender")

                                                                  WITNESSETH

         WHEREAS, Borrower and Lender entered into that certain Credit Agreement dated March 1,
2001, as amended by that certain First Amendment to Credit Agreement dated as of February 4,2004,
that certain Second Amendment to Credit Agreement entered into as of May 1,2006, and that certain
Third Amendment to Credit Agreement dated as of April 23, 2008 (hereinafter collectively referred to as
the "Credit Agreement"), pursuant to which Lender agreed to make certain loans to Borrower;

           WHEREAS, pursuant to Section 7.05 of the Credit Agreement, the parties hereto wish to enter
into this Fourth Amendment to amend the amount of   the Commitment;

           NOW, THEREFORE, for and in consideration of                   the exchange of mutual promises and other
good and valuable consideration, the receipt and sufficiency of                which is hereby acknowledged, Borrower
and Lender agree to the amendment of                     the Credit Agreement as follows:

1. The first sentence of Section 3.02 of the Credit Agreement is hereby amended to read in its
entirety as follows:

           "The Lender's Commitment shall be U.S.$20,250,000 or such lesser amount as provided in this Section
           3.02. "

2. This Fourth Amendment shall become effective on the later of (i) the Execution Date, and (ii) the
date upon which the Lender shall have received written evidence of the approval of this Fourth
Amendment by the Borrower's Executive Committee pursuant to Section 7.05 of the Credit Agreement.

3. Except as otherwise expressly amended hereby, the Credit Agreement remains in full force and
effect and unmodified, and except as otherwise defined herein, all capitalized terms used in this Fourth
Amendment shall have the same meanings ascribed thereto in the Credit Agreement.

      IN WITNESS WHEREOF, the parties hereto have caused this Fourth Amendment to the Credit
Agreement to be executed by their respective duly authorized representatives as of the Execution Date.

Advanced Refining Technologies LLC                                     W. R. Grace & Co.-Conn.



By                                                                     By
     Scott K. Purnell                                                  Name:
     Managing Director                                                 Title
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                  NON-NEGOTIABLE PROMISSORY NOTE

                       2007 -2008 Maintenance Capital



 US$8,700,000                                            November _, 2009
                                                          Columbia, Maryland


     FOR VALUE RECEIVED, W. R. Grace & Co.-Conn., a Connecticut
corporation having its principal offices at 7500 Grace Drive, Columbia,
Maryland 21044 ("Borrower"), hereby promises to pay to Advanced Refining
Technologies LLC, a Delaware limited liability company having its principal
offices at c/o W. R. Grace & Co.- Conn., 7500 Grace Drive, Columbia, Maryland
21044 ("Lender"), the principal amount of EIGHT MILLION SEVEN HUNDRED
THOUSAND U. S. DOLLARS (US$8,700,OOO), together with interest on the
principal amount hereof outstanding from time to time, as more particularly set
forth below, but in any event ON DEMAND by Lender or, upon the occurrence
and during the continuance of a Member Demand Event (as defined below), by
either member of Lender.

     This Promissory Note evidences amounts borrowed in 2009 to fund
Maintenance Capital Expenditures (as such term is defined in Section 5.5 of
the Hydroprocessing Catalyst Supply Agreement effective March 1, 2001, as
amended, between Lender and Borrower) in 2007 and 2008.

      Interest on this Promissory Note shall be calculated based on a year of 360
days and actual days elapsed, and shall be payable monthly on the 15th day of
each month (or if such day is not a Business Day, then on the next succeeding
Business Day), commencing December 15, 2009, for the immediately
preceding calendar month, and on the day when any principal prepayment is
made with respect to the amount then prepaid.

      Interest shall be calculated at the rate of interest per annum equal (to the
full extent permitted by applicable law) to UBOR (as defined below) plus 125
basis points (a basis point being equal to 1/100th of a percentage point);
provided, however, that upon the occurrence and during the continuance of
any default by Borrower in the scheduled payment of any amount due under
this Promissory Note, which default shall continue for five Business Days after
notice thereof to Borrower by Lender, or in the payment of any amount due


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under this Promissory Note upon demand, interest shall, to the full extent
permitted by law, thereafter accrue (as well after as before judgment) on such
overdue amount at a rate equal to one percentage point (1 %) above the rate of
interest otherwise applicable herein. Interest shall be payable in respect of any
principal amount hereof for the date of this Promissory Note, but not for the day
on which such principal amount is repaid.

      Principal will be paid in 80 equal monthly payments of $108,750.00, or in
full upon demand as provided herein. Principal payments shall be made on
the 15th day on each consecutive month commencing January 15, 2010 (or if
such day is not a Business Day, then on the next succeeding Business Day).

      As used in this Promissory Note, the following terms shall have the
following meanings:

      "Business Day" shall mean a day on which banks are not required or
      authorized to close in New York, New York or Columbia, Maryland, U.S.A.
      "Initial Interest Period" shall mean the period commencing on the date of
      this Promissory Note and ending on December 31,2009.

      "Interest Period" shall mean the Initial              Interest Period and, thereafter, each
      quarterly period commencing on the first day of each subsequent calendar
      quarter and ending on the last day of such subsequent calendar quarter
      during the term of this Promissory Note.

      "UBOR" shall mean for each Interest Period the London Interbank Offered
      Rate for a loan of three months that appears on the Thomson One BBA
      U BOR Screen at close of business on the second Business Day
      immediately preceding the first day of such Interest Period (the "Interest
      Determination Date"); provided, however, that (i) if no such rate
      appears on the Thomson One BBA UBOR Screen on the Interest
      Determination Date, then UBOR shall mean for such Interest Period
      the London Interbank Offered Rate for a loan of three months
      published in The Wall Street Journal on the Interest Determination Date;
      or (ii) if such rate appears on neither the Thomson One BBA UBOR
      Screen nor in The Wall Street Journal on the Interest Date, then UBOR
      shall mean for such Interest Period the London Interbank Offered Rate for
      a loan of three months and in an amount comparable to the aggregate
      principal amount outstanding under this Promissory Note, quoted on the
      Interest Determination Date by Bank of America, N.A.

      "Member Demand Event" shall mean any of the following:

                 (a) default by Borrower in the payment of any amount due and


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                    payable hereunder, which default has continued and is
                    continuing uncured for a period of at least 180 days; or
             (b) Borrower shall cease doing business as a going concern; or
             (c) Borrower shall, except in connection with its currently
                    pending case in the U.S. Bankruptcy Court for the District of
                    Delaware, (i) voluntarily commence any proceeding or file
                    any petition seeking relief under the United States
                    Bankruptcy Code, as now constituted or hereafter amended,
                    or any other federal or state bankruptcy, insolvency,
                    receivership or similar law, (ii) apply for or consent to the
                    appointment of a receiver, trustee, custodian, or similar
                    offcial for Borrower or for a substantial part of the propert or
                    assets of Borrower, (iii) make a general assignment for the
                    benefit of creditors, or (iv) become unable, admit in writing its
                    inability, or fail generally to pay its debts as they become due;
                    or
             (d) an involuntary proceeding shall be commenced or an
                    involuntary petition shall be filed in a court of competent
                    jurisdiction seeking (i) relief in respect of Borrower, or of a
                    substantial part of the propert or assets of Borrower, under
                    the United States Bankruptcy Code, as now constituted or
                    hereafter amended, or any other federal or state bankruptcy,
                    insolvency, receivership or similar law, (ii) the appointment of
                    a receiver, trustee, custodian, or similar offcial for Borrower
                    or for a substantial part of the propert or assets of Borrower,
                    or (ii) the winding-up, liquidation or dissolution of Borrower;
                    and such proceeding or petition shall continue undismissed
                    for sixt (60) consecutive days; or
             (e) a voluntary or involuntary proceeding shall be (i)
                    commenced, or (ii) petition shall be filed in a court of
                    competent jurisdiction, seeking the winding-up, liquidation or
                    dissolution of Lender; and such proceeding or petition shall
                    continue undismissed for sixty (60) consecutive days; or
             (f) Borrower shall sell, assign or transfer its Company Interest to
                    a member of Lender or any third part.

      "U. S. Dollars" and US$" shall mean lawful currency of the United States of
      America.
     All payments to the holder of this Promissory Note shall be made at the
address of the holder set forth in the first paragraph of this Promissory Note,
ATTENTION: Treasury Department, or at such other offce or to such account as
such holder from time to time may specify by notice to Borrower.




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       This Promissory Note is not negotiable, and is not assignable or
transferable by the holder of this Promissory Note, except with the prior written
consent of Borrower.

       This Promissory Note may be prepaid in whole or in part, at any time and
from time to time without premium or penalty, upon not less than one Business
Day's notice to the holder. Each prepayment will be applied first to accrued and
unpaid interest, and then to installments of principal in the reverse order of
their due dates.
       Borrower waives, to the extent that it may lawfully do so, presentment,
protest, and all notices of whatever kind (other than a demand for payment as
provided for herein and the right to return of this Promissory Note marked
"canceled" against payment in full of all amounts due hereunder) in connection
with payment of this Promissory Note; and Borrower agrees that the entire
principal amount hereof may at any time and for any reason or no reason, in the
holder's sole discretion, be declared to be immediately due and payable; and
further agrees, on demand, to pay interest, to the extent permitted by applicable
law, on all overdue amounts of principal and interest hereunder at the rate
provided for herein. Borrower shall pay to the holder of this Promissory Note, on
demand, all costs and expenses (including, without limitation, attorneys' fees and
expenses) incurred by such holder in connection with enforcement and
collection of this Promissory Note.

       The obligation of Borrower to pay the holder of this Promissory Note shall
be absolute and unconditional and the rights of such holder shall not be
subject to any defense, set-off, counterclaim or recoupment by reason of any
indebtedness, obligation or liability at any time owing or incurred by such holder
to Borrower or otherwise.
       Demand by Lender or one of its members to Borrower for payment and
other notices to Borrower hereunder shall be made in writing (including facsimile
transmission) or by telephone promptly confirmed in writing at the address shown
following Borrower's signature hereon or at such other address as Borrower shall
specify by written notice to the holder of this Promissory Note at its office address
shown above (or at such other address as such holder from time to time may
specify by written notice to Borrower).
       Lender reserves the right to net any outstanding payments Lender may have
outstanding with Borrower from any source whatsoever at any time Borrower fails
to pay interest and repay principal by the due date under the terms of this
Promissory Note.
       No failure by the holder of this Promissory Note to assert any of its rights or
take any action hereunder, nor any delay therein, shall constitute a waiver of
such holders rights hereunder. The rights and remedies provided in this

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Promissory Note are cumulative and not exclusive of any rights or remedies
provided by law. No waiver of any such rights shall be effective unless made in
a writing signed by the holder of this Promissory Note and then shall be
effective in the particular instance and limited to the particular matter or matters
referred to.
       All amounts payable hereunder shall be paid in U. S. Dollars and in
immediately available and freely transferable funds.
       This Promissory Note shall be governed by and construed and enforced
in accordance with the laws of New York. Borrower hereby irrevocably submits
to the non-exclusive jurisdiction of any court of competent jurisdiction located in
New York, New York for purposes of enforcement hereof and agrees that process
may be served upon it in the manner specified herein for the delivery of notices or
in any other manner permitted by law.

      IN WITNESS WHEREOF, Borrower has caused this Promissory Note to be
executed by its duly authorized offcer as of the date first above written.


                                         w. R. GRACE & CO.-CONN.



                                         By:
                                               Hudson La Force II
                                               Senior Vice President and
                                               Chief Financial Offcer



Borrower's Address for notices:
W. R. Grace & CO.-Conn.
7500 Grace Drive
Columbia, Maryland
ATTENTION: Treasury Department
Telephone: (410) 531-4398 or (410) 531-4560
Fax: (410) 531-4461




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